         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 1 of 16




                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                     :

                v.                           :        CRIMINAL NO.          17 - 00383

SANDRO G. ZHININ                             :


                     GOVERNMENT'S SENTENCING MEMORANDUM

       Defendant Sandro G. Zhinin, has a deviant sexual interest in children.       While he denies

this, and hired a psychologist to support his denial, the facts of this case belie his bold claims.

Zhinin was methodical, sneaky, and goal driven.      A sentence of life is appropriate.

I.     BACKGROUND

       Sandro G. Zhinin was indicted on July 20, 2017 with eight counts as follows:         Counts

One, Two, and Three, aggravated sexual abuse of a minor, in violation of Title 18, United States

Code, Section 2241(c), Counts Four, Five and Six, travel to engage in illicit sexual contact with a

minor, in violation of Title 18, United States Code, Section 2423(b), Count Seven, production of

child pornography, in violation of Title 18, United States Code, Section 2251(a), and Count Eight,

possession of child pornography, in violation of Title 18, United State Code, Section 2252(a)(4),

all arising from defendant’s sexual abuse of an 11-year-old girl.

       On August 8, 2018, Zhinin pled to Counts One through Three and Counts Seven and Eight

of the Indictment. The defendant also agreed to forfeiture of electronic devices used to commit

the crime and to pay restitution. At the time of sentencing the government will move to dismiss

Counts Four, Five, and Six and will recommend the defendant’s sentence in this case run


                                                 1
          Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 2 of 16




concurrently to the sentence imposed in Commonwealth v. Sandro G. Zhinin, in the Lehigh County

Court of Common Pleas, at docket number 39-CR-0002272-2017. Sentencing is scheduled for

January 4, 2018.

II.     FACTUAL BASIS FOR PLEA 1:

        On March 11, 2017, an 11-year-old girl, referred to here as the “Minor” victim, was

reported missing from her residence located in Northampton Borough, Northampton County,

Pennsylvania to the Northampton Borough Police Department by her parents. Later that day, the

Minor returned home and told police officers an adult male known to her as “Sam” picked her up

at the 4th Street Park in Northampton early that day. “Sam” then drove her to the Scottish Inn,

located in Hanover Township, Lehigh County, where he sexually assaulted her in Room 109. On

the same date, the Minor submitted to a sexual assault examination at Lehigh Valley Hospital.

The exam revealed the Minor had injuries consistent with sexual assault.

        On March 13, 2017, the Minor was interviewed by a Child Interview Specialist at the

Lehigh County Child Advocacy Center. The Minor related the following: She met an individual

known to her only as “Sam” via the website “Meet Me.” They began communicating via the

websites / applications “Skype” and “Snapchat, 2” and “Sam” eventually arranged to meet up with

the Minor in person.        The Minor reported she had told “Sam” at some point during their

communications that she was 11-years-old. The Minor further reported that “Sam” picked her up


1 The summary of facts is the same summary contained in the government’s change of plea memorandum and read
into the record during Zhinin’s change of plea hearing. Zhinin agreed during the change of plea hearing, the
summarized facts are true and accurately reflect his criminal conduct.
2 MeetMe is an online social networking service that enables individuals to locate and communicate with other
individuals; Skype is an instant messaging online application that provides real time video chatting service that
enables users to see the individual they are communicating with via webcam; and Snapchat is also an instant
messaging application where videos and images can be shared with others; communications, videos and images
shared via Snapchat are only available for a short period of time by design before being permanently deleted.

                                                        2
         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 3 of 16




on March 4, 2017 from the 4th Street Park in Northampton Borough around midday. “Sam” then

drove her to the Red Roof Inn in Hanover Township, Lehigh County where he rented a room while

she waited in the car. “Sam” came back out and took her to the rented room where he began to

kiss her and take her clothes off. “Sam” proceeded to put on a condom, place his penis in the

Minor’s vagina and have sexual intercourse with her. “Sam” then removed the condom and

flushed it down the toilet. Eventually “Sam” drove her to the area of her house and dropped her

off down the street.

       The Minor further reported that “Sam” picked her up again on March 11, 2017, in the mid

afternoon from the 4th Street Park. He drove her to the Scottish Inn in Hanover Township, Lehigh

County where he already had a room rented. They went to Room 109 where “Sam” proceeded to

have vaginal intercourse with the Minor while wearing a condom. “Sam” finished and flushed

the condom down the toilet. The Minor related that “Sam” waited for a few minutes before

putting on another condom and having vaginal intercourse with her again. Once he was finished,

he again flushed the condom down the toilet.   The Minor reported that she looked at her phone

and observed several missed calls and text messages from family members indicating that they

were looking for her. This caused “Sam” to panic and he immediately drove her to the area of

her house and dropped her off on the corner.

       Pennsylvania State Police learned Room 109 at the Scottish Inn was rented to Sandro G.

Zhinin on March 11, 2017. At check-in, Zhinin presented his New York Driver License and a

Capital One MasterCard debit card to rent the room.

       The Pennsylvania State Police prepared a photo lineup, which contained eight individuals,

one of them being Zhinin. A trooper showed the photo lineup to the Minor in the presence of her


                                               3
          Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 4 of 16




parents on March 13, 2017. The Minor positively identified Zhinin as the individual she knew as

“Sam.”

         On March 13, 2017, the Pennsylvania State Police contacted the Red Roof Inn and learned

that Zhinin rented a room on March 4, 2017 and checked out on March 5, 2017. Zhinin presented

his New York Driver License to rent the room and paid for it with a Capital One MasterCard debit

card.

         On March 23, 2017, the Pennsylvania State Police secured and executed a Search Warrant

on Zhinin’s Capital One Checking Account. The Capital One Checking Account records received

via the warrant revealed that Zhinin’s debit card was used to make purchases at the Red Roof Inn

on March 4, 2017 for $78.58 and the Scottish Inn on March 11, 2017 for $99.00. Further, it listed

a home address in Brooklyn, New York.

         On March 25, 2017, Pennsylvania State Police, in cooperation with the Minor and her

parents, communicated with Zhinin. Zhinin planned to travel once again to meet the Minor victim

for sexual purposes. Once again, Zhinin arranged to pick up the 11-year-old victim at the 4th

Street Park in Northampton Borough. The meeting was planned for Saturday, March 25, 2017.

Members of the Pennsylvania State Police conducted surveillance of the park. At approximately

1:00 p.m., Zhinin was observed in the area of the park and was taken into custody. A search of

Zhinin’s person after his arrest revealed he was in possession of a hotel keycard for Room 239 at

the Red Roof Inn (Hanover Township, Lehigh County). Hotel staff verified that Zhinin had just

checked in to the room at approximately 12:30 on March 25, 2017.

         The hotel room was subsequently searched pursuant to a search warrant, and an LG Tablet

belonging to Zhinin was located. A search of the LG tablet revealed sexually explicit images,


                                                4
         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 5 of 16




including Zhinin having sex with the 11-year-old in the hotel in Lehigh County on March 11, 2017.

       Sandro Zhinin has a New York driver’s license and resides in Brooklyn, New York.

Zhinin was employed by RealMatch, LLC, in Manhattan, New York. On March 4, March 11 and

March 25, all of 2017, Zhinin traveled from New York to Pennsylvania to sexually abuse an 11-

year-old girl. The LG Tablet used by Zhinin was manufactured outside the Commonwealth of

Pennsylvania.

III.   SENTENCING CALCULATION.

       A.       Statutory Maximum Sentence.

       Counts One through Three – Aggravated Sexual Abuse:             Lifetime imprisonment, a

mandatory minimum 30 years’ imprisonment, a $250,000 fine, a mandatory minimum five years

supervised release up to lifetime supervised release, a $100 special assessment, and a $5,000

special assessment pursuant to 18 U.S.C.§ 3014, per count;

       Count Seven – Production of Child Pornography: 30 years’ imprisonment, a mandatory

minimum 15 years imprisonment, a $250,000 fine, a mandatory minimum five years supervised

release up to lifetime supervised release, a $100 special assessment, and a $5,000 special

assessment pursuant to 18 U.S.C.§ 3014.

       Count Eight – Possession of Child Pornography: 20 years imprisonment, a mandatory

minimum five years supervised release up to lifetime supervised release, a $250,000 fine, a $100

special assessment, and a $5,000 special assessment pursuant to 18 U.S.C.§ 3014.

       Total Maximum and Mandatory Minimum Sentence:                  Lifetime imprisonment, a

mandatory minimum 30 years’ imprisonment, a $1,250,000 fine, a mandatory minimum five years

supervised release up to lifetime supervised release, a $500 special assessment, and an additional


                                                5
            Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 6 of 16




mandatory $25,000 special assessment pursuant to 18 U.S.C. § 3014, for a total of $25,500 in

special assessments. Forfeiture and restitution shall also be ordered.

        B.       Sentencing Guidelines Calculation.

        The Probation Office correctly calculated the defendant’s advisory guideline range as an

offense gravity score of 48 (which is adjusted to an offense gravity score of 43 as that is the highest

offense gravity score available under the sentencing guidelines) and a criminal history category I;

resulting in a guideline range of life.

IV.     SENTENCING ANALYSIS

        A thorough consideration of all of the sentencing factors set forth in 18 U.S.C. § 3553(a)

suggests that the most appropriate sentence is life.

        The Supreme Court has declared: “As a matter of administration and to secure nationwide

consistency, the Guidelines should be the starting point and the initial benchmark.”           Gall v.

United States, 128 S. Ct. 586, 596 (2007). Thus, the Sentencing Guidelines remain an

indispensable resource for assuring appropriate and uniform punishment for federal criminal

offenses.

        This Court must also consider all of the sentencing considerations set forth in Section

3553(a).     Those factors include: (1) the nature and circumstances of the offense and the history

and characteristics of the defendant; (2) the need for the sentence imposed to reflect the seriousness

of the offense, to promote respect for the law, and to provide just punishment for the offense; (3)

the need to afford adequate deterrence to criminal conduct, and to protect the public from further

crimes of the defendant; (4) the need to provide the defendant with educational or vocational

training, medical care, or other correctional treatment in the most effective manner; (5) the


                                                  6
            Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 7 of 16




guidelines and policy statements issued by the Sentencing Commission; (6) the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct; and (7) the need to provide restitution to any victims of the offense.                 18

U.S.C. § 3553(a).

         A.       Nature and Circumstance of the Offense:

         Sandro Zhinin traveled from his home in Brooklyn, New York to have sex with an 11-year-

old girl.     Zhinin now lies about his actions, and hired a psychologist to support his lies at his

sentencing hearing by claiming he had no idea the victim was under the age of 18.                        The facts

belie such a representation, and his attempts to minimize and have his psychologist jump on board

his minimization efforts, are nothing short of offensive.

         The facts demonstrate the following:            The victim stated Zhinin claimed to her to be 19

years-of-age, and the victim reported that she informed Zhinin she was only 11-years-of age (a

fact Zhinin admitted to in his change of plea colloquy 3 ). Furthermore, in various chat

communications between Zhinin and the 11-year-old, it was crystal clear the victim was underage.

There were various references to the victim being grounded and having electronic equipment taken

away as part of her punishment, as well as to attempts to hide their communication from her parents


3 The defendant should be prohibited from arguing he did not know the victim was a minor, as the plea agreement
outlines that he is pleading guilty to three offenses, including possession of child pornography. Possession of child
pornography requires knowledge that the victim was a minor. Furthermore, he admitted she told him she was 11
years old in his guilty plea colloquy. He should not now be permitted to go against stipulations that were already
agreed upon. Under contract principles, a plea agreement necessarily “works both ways. Not only must the
government comply with its terms and conditions, but so must [the defendant].” United States v. Carrara, 49 F.3d
105, 107 (3d Cir.1995). A defendant should not be permitted “to get the benefits of [his] plea bargain, while
evading the costs.” United States v. Bernard, 373 F.3d 339, 345 (3d Cir.2004) (concluding that defendant should
be held to the terms of her plea agreement, which stated that the agreed-upon guideline should apply). “Under the
law of this circuit, [a defendant] cannot renege on his agreement.” United States v. Cianci, 154 F.3d 106, 110 (3d
Cir.1998). When a defendant stipulates to a point in a plea agreement, he “is not in a position to make ... arguments
[to the contrary].” United States v. Melendez, 55 F.3d 130, 136 (3d Cir.1995), aff'd 518 U.S. 120 (1996); See also
United States v. Williams, 510 F.3d 416 (3d Cir. 2007).

                                                         7
         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 8 of 16




and sister.

        It is not only a fact that Zhinin knew he was traveling to meet a young girl to sexually abuse

and videotape his abuse, it was his objective.     Zhinin met the minor victim through the online

application Meet me.    On his “Meet me” page he advertised himself as a 15-year-old boy.         He

wants this Court to believe he was looking for another adult for sexual purposes and thought that

is what he found with the 11-year-old victim.    Why then, have a profile page where he advertises

himself as a 15-year-old boy.     The age his chooses for his profile is illuminating.    It strongly

suggests that not only was he looking for a minor but a younger minor.            The text messages

between Zhinin and the 11-year-old victim include the following:

        Zhinin:        I’ll be there soon.   Where are yo gonna be

        11 y/o:        Okay and I’m in my house when you get there I will walk down.

        ....

        Zhinin:        where are you?

        Zhinin:        just let me know you’re ok.ily

        11 y/o:        Hey I’m fine I’m just grounded

        Zhinin:        Omg I was so worried baby

        Zhinin         Miss you should much

        Zhinin         How long are you grounded until

        11 y/o         I’m ungrounded tomorrow

        Zhinin:        Oh ok good.     Love and miss you so much When can I see you?

        11 y/o:        Can’t talk rn we can meet tomorrow at the park the normal one whee you
                       usually pick me up.

        Zhinin:        Ok let’s talk later

                                                  8
         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 9 of 16




        Zhinin:         I can try not sure if I can tomorrow tho.   Ill call you later tho (emoji with
                        a kiss and heart)

        11 y/o:         Okay I Can’t call later because parents and sister are gonna be here and I
                        can’t rn just to let you know.
        ....

        Zhinin:         Oh what happened to your phone?

        Zhinin:         Oh casue you grounded

        11 y/o:         Not allowed to have my phone in a month because I didn’t pick it up when
                        parents and people were calling me

        Zhinin:         Oh damn.

        Zhinin:         Sorry that you got in trouble

        Zhinin:         Did they hurt you tho?    They better not have

        11 y/o:         No of course not but I really wanna see you tomorrow.

        ....

        Zhinin:         So what happened?     What did they say when you got home?

        11 y/o:         I just got my phone and computer got taken away

        11 y/o:         I gtg I’ll talk to you tomorrow

        Zhinin also discussed in text message his paranoia about being caught.       If he thought he

was meeting with an adult, why would he be paranoid? It is simple, because he knew he was

engaged in illegal activity.   Zhinin admitted his paranoia in the following text message exchange:

        Zhinin:         You sure you want a Dr pepper

        Zhinin:         That’s the soda I got you last time right

        11 y/o:         You got meh sprite

        Zhinin:         Lol


                                                  9
           Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 10 of 16




       Zhinin:          Just making sure.    You know how I get paranoid.

       Zhinin:          What’s your fav food btw?

       11 y/o:          Don’t be paranoid you prick my parents are working it’s fine Okay And it’s
                        watermelon btw
       ....

       Zhinin:          I don’t know.    I’m just being dumb lol

       Zhinin:          Same

       Zhinin:          I just didn’t hear from you for a while and when you text me before you
                        were grounded you didn’t want to answer my questions

       Zhinin:          What time do you have to be home if you hang today?

       11 y/o:          Parents will at 4 or 5 PM you know normal time

       Zhinin’s entire argument seems to be based on one claimed fact, that he had no idea the

victim was a minor and it was certainly not his intention to meet with one (more than once) and

have sexual relations with her.     Given the facts outlined above, this is totally unbelievable.

       Zhinin clearly knew the victim was a minor; why else would he be paranoid, why else

would he have to pick her up at a park and not her house; why else would he claim he was only 19

years of age or have a profile page indicating he was 15 years old, when he was in fact 33.         Why

else would he be willing to meet with a girl who told him repeatedly she was grounded or in

trouble.    The conclusion is obviously clear.

       As if this is not enough to demonstrate Zhinin intended to find a minor victim to sexually

abuse, Zhinin also communicated with other minors as evidenced by other chat communications

obtained from his LG tablet.      (See Exhibit 2)

       Communications with Zhinin and Minor #2:

       Zhinin:          I want to do dirty things to you.

                                                    10
Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 11 of 16




Zhinin:     soooo that means your hot

Minor #2:   Ur joking right

Zhinin:     No

Minor #2:   [expletive] I’m 13

Minor #2:   U know that right

Zhinin:     we talked about this

Zhinin:     you don’t remember

Minor #2:   No

Zhinin:     like I said you don’t at like it do I don’t care

Communications with Zhinin and Minor #3:

Minor #3:   How

Zhinin:     cause you’re perfect

Zhinin:     and I love you so much

Minor #3:   I’m so young tho

Zhinin:     i don’t mind that tho cause i love you

Zhinin:     and i don’t care about age

....

Minor #3:   I love u sooooo much and don’t ever wanta lose u

Zhinin:     I love you like crazy too!!!

Zhinin:     you won’t lose me

Zhinin:     I’m here for you

Minor #3:   How old are u I forget


                                       11
          Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 12 of 16




          Zhinin:          lol 19

          The evidence is overwhelming that Zhinin was sexually targeting minors.         His claim to

the contrary is simply unbelievable.

          B.        History and Characteristics of Defendant:

          While Zhinin does not have any prior criminal history, he engaged in a pattern of activity

that spanned at least several weeks (or months if you include the communications with other minor

girls.)    Furthermore, he was holding himself out to be a 15-year-old boy in his social media

accounts.       He has also shown no remorse, and is willing to lie about his actions.     The truth is

Zhinin was seeking out a minor to sexually exploit, and did so successfully with an 11-year-old

victim on two occasions and attempted a third. He also video-taped his abuse.

          Despite exhibiting his paranoia about getting caught, it did not stop him from traveling a

second and third time from New York to Pennsylvania to sexually abuse the minor again.             His

deviant sexual desires were so compelling it trumped his concern for getting caught.

          Zhinin also has demonstrated that he has no moral compass whatsoever.        He was willing

to sneak around, steal a child from the safety of her home and parents, take her to cheap hotel

rooms and sexually abuse her.        That is his history and character.

          It is obvious Zhinin is sexually aroused by children and has demonstrated that he seeks

young girls out specifically.

          C.        The need for the sentence imposed to reflect the seriousness of the offense, to
                    promote respect for the law, and to provide just punishment for the offense:

          Zhinin’s offenses are serious.    Only a significant sentence can match the magnitude of his

crimes.        Zhinin demonstrated that he was unable to stop himself without law enforcement

intervention.       A significant sentence reflects the seriousness of Zhinin’s crime, promotes respect

                                                    12
        Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 13 of 16




for the law, in some way shows some respect to the victim of this offense, and provides just

punishment for the offense.

       Furthermore, not only did Zhinin attempt to get this Court to believe he had no idea he was

preying on an 11-year-old girl, it also demonstrates that he has not taken responsibility for his

behaviors nor has he shown any remorse. He took away a young girl’s innocence and her first

sexual experience. He has caused harm not only to his victim, but his victim’s family.

       D.        The need to afford adequate deterrence to criminal conduct, and to protect the
                 public from further crimes of the defendant;

       Deterrence is extremely important in child exploitation cases.   Deterrence is one way to

attempt to limit the harm. Zhinin has shown the inability to control his deviant sexually explicit

behavior.   For that reason, a significant sentence will protect the public from further crimes of

the defendant.

       E.        The need to provide the defendant with educational or vocational training,
                 medical care, or other correctional treatment in the most effective manner

       There does not appear to be any need to adjust a sentence based on any education or

vocational treatment or for medical care.

       F.        The guidelines and policy statements issued by the Sentencing Commission

       As stated above, the Supreme Court has declared:     “As a matter of administration and to

secure nationwide consistency, the Guidelines should be the starting point and the initial

benchmark.” Gall v. United States, 128 S. Ct. 586, 596 (2007). Thus, the Sentencing Guidelines

remain an indispensable resource for assuring appropriate and uniform punishment for federal

criminal offenses.




                                               13
          Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 14 of 16




V.       DR. FRANK M. DATTILIO’S REPORT:

         As stated, Zhinin has submitted a psychological report prepared by Dr. Frank Dattilio, a

clinical and forensic psychologist.         Zhinin relies on Dr. Datillio’s findings and representations to

support his sentencing advocacy.           Dr. Dattilio’s report is egregiously flawed.           His findings are

based on Zhinin’s claim that he thought the victim was at least 18 years of age.                        As already

demonstrated, this is a ludicrous representation.             While Dr. Dattalio does acknowledge that after

viewing the video Zhinin created of his sexual abuse, that the victim appears sexually

inexperienced and had a young face and young mannerisms 4, he accepts as true Zhinin’s claim

that he thought the victim was an adult.            As this seems to be heavily relied upon as fact in Dr.

Dattilio’s findings and opinions, his entire report should be disregarded as totally unreliable.




4 In the video the victim states she does not know what to do and giggles at times. Zhinin also places her in sexual
positions in which she stays without barely moving.

                                                         14
         Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 15 of 16




VI.      CONCLUSION


         Zhinin has engaged in horrific criminal behaviors targeting an 11-year-old girl and now

lies about his criminal behavior to obtain some consideration from this Court.   His lies have been

exposed.    A significant sentence is warranted to punish the defendant, deter him and others,

demonstrate respect for the law and judicial system, and protect the public for his sexual deviance.


                                              Respectfully submitted,

                                              WILLIAM M. MCSWAIN
                                              United States Attorney




                                                /s/ Sherri A. Stephan
                                              Sherri A. Stephan
                                              Assistant United States Attorney

Dated:     January 3, 2019




                                                15
        Case 5:17-cr-00383-EGS Document 35 Filed 01/03/19 Page 16 of 16




                                CERTIFICATE OF SERVICE

        I certify that a copy of this sentencing memorandum was caused to be served by Sherri A.

Stephan, Assistant United States Attorney, by electronic filing to defense counsel:


                                    Nancy Maceoin, Esquire
                                   Assistant Federal Defender



                                               /s/ Sherri A. Stephan
                                             Sherri A. Stephan
                                             Assistant United States Attorney


Date:   January 3, 2019
